Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 1 of 37      PageID #:
                                   5142


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                   UNITED STATES DISTRICT COURT
                             DISTRICT OF HAWAII

                                              Cr. No. 17-00582 JMS-WRP
  UNITED STATES OF AMERICA,
                                              UNITED STATES’ EXHIBIT LIST
                        Plaintiff,
             v.

  KATHERINE P. KEALOHA (1),
   aka Katherine E. Kealoha,
   aka Kathy Kealoha,
   aka Kat,
   aka Alison Lee Wong,
  LOUIS M. KEALOHA (2),
  DEREK WAYNE HAHN (3),
  MINH-HUNG NGUYEN (4),
   aka Bobby Nguyen,
  GORDON SHIRAISHI (5),

                       Defendants.
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 2 of 37                                         PageID #:
                                                      UNITED STATES v.5143
                                                                      KEALOHA, et al.,
                                                                          17CR0582-JMS-RLP
                                                                       GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                               DESCRIPTION                                         DATE   MARKED ADMITTED
  NO:                                                                                                                                           OFFERED

01-01    KEALOHA-13-1-0686-      KEALOHA-13-1-0686-         Florence Puana's Power of Attorney appointing Katherine Kealoha as her
         PUANA-005397            PUANA-005399               attorney, dated January 7, 2009

01-02    KEALOHA-13-1-0686-      KEALOHA-13-1-0686-         Amendment to Florence Puana's trust naming Katherine Kealoha as successor
         PUANA-005400            PUANA-005401               trustee, dated February 6, 2009

01-03    KEALOHA-GJ-BL006-                                  Bank of Hawaii Signature Card for Joint Account 1502 authorizing users Katherine
         BANKOFHI-000005                                    Kealoha and Florence Puana, dated March 27, 2009

01-03A   KEALOHA-GJ-BL006-                                  Certificate of Authenticity for Bank of Hawaii Joint Account 1502 signature card
         BANKOFHI-000001                                    marked as Exhibit 01-03

01-04    KEALOHA-REPORTS-        KEALOHA-REPORTS-012658 Tax Clarification Affidavit written by Katherine Kealoha and signed by Florence
         012656                                         Puana, dated July 30, 2010

01-05    KEALOHA-13-1-0686-                                 MetLife Annual Occupancy Certificate changing mailing address to Katherine
         PUANA-005549                                       Kealoha's P.O. Box, signed by Florence Puana, dated October 17, 2010


01-06    KEALOHA-13-1-0686-      KEALOHA-13-1-0686-         Assaggio Bistro receipt from October 19, 2010 meeting with Katherine Kealoha,
         PUANA-004291            PUANA-004291               Florence Puana and Gerard Puana

01-07    KEALOHA-GJ-BL021-UPS- KEALOHA-GJ-BL021-UPS-        Katherine Kealoha adding Florence Puana to P.O. Box 829 for purposes of reverse
         000004                000005                       mortgage statements, dated October 19, 2010

01-07A   KEALOHA-GJ-BL021-UPS-                              Certificate of Authenticity for UPS P.O. Box application marked as Exhibit 01-07.
         000001
01-08    KEALOHA-13-1-0686-                                 Deval LLC letter dated February 23, 2012 to Florence Puana regarding reverse
         PUANA-000578                                       mortgage statements

01-09    KEALOHA-USAOHI-                                    Florence Puana Letter to Katherine Kealoha, dated September 10, 2012, revoking
         BOX001-000248                                      Katherine Kealoha's power of attorney and requesting repayment of the money
                                                            owed to Florence Puana

01-10    KEALOHA-13-1-0686-      KEALOHA-13-1-0686-         Katherine Kealoha's Response to Florence Puana's Letter, dated September 15,
         PUANA-001736            PUANA-001741               2012




                                                                                      1
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 3 of 37                                    PageID #:
                                                      UNITED STATES v.5144
                                                                      KEALOHA, et al.,
                                                                       17CR0582-JMS-RLP
                                                                    GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:          END BATES NO:                                              DESCRIPTION                                         DATE   MARKED ADMITTED
  NO:                                                                                                                                        OFFERED

01-11    KEALOHA-USAOHI-       KEALOHA-USAOHI-BOX001- Katherine Kealoha's Response to Letter dated September 10, 2012 to Puana
         BOX001-001044         001053                 Family Member, Party Participant, and Interested Party, dated September 15,
                                                      2012

01-12    KEALOHA-BOH-000077                              Florence Puana's receipt for payment of Bank of Hawaii bank statements, dated
                                                         February 4, 2013

01-13    KEALOHA-GJ-BL006-     KEALOHA-GJ-BL006-         Bank of Hawaii Statements for Joint Account 1502 from February 27, 2009
         BANKOFHI-000005       BANKOFHI-000243           through January 24, 2013

01-13A   KEALOHA-GJ-BL006-                               Certificate of Authenticity for Bank of Hawaii Statements marked as Exhibit 01-13
         BANKOFHI-000001

01-14    KEALOHA-13-1-0686-                              Katherine Kealoha's Petition (cover page) to have Florence Puana declared
         PUANA-003236                                    incompetent, dated December 1, 2014

01-15    KEALOHA-000026                                  Photograph of defendant Minh-Hung "Bobby" Nguyen and Maile Rego

01-16    KEALOHA-REPORTS-      KEALOHA-REPORTS-021900 Declaration of Florence Puana for Case No. 13-1-0686
         021897
01-17    KEALOHA-USAOHI-       KEALOHA-USAOHI-BOX001- TRANSCRIPT - Videotaped Deposition of Florence Puana
         BOX001-000157         000219
01-18    FLORENCE PUANA-                              Magazine Cover Photograph of Katherine Kealoha and Louis Kealoha
         DEPOSITION EX.
01-19    KEALOHA-13-1-0686-                              Metlife Reverse Mortgage Statements
         PUANA-005929

01-20    KEALOHA RECIPROCAL                              Photograph of 3934 Nioi Place, the former residence of Florence Puana and
         DISCOVERY                                       Gerard Puana (back of the house)

01-21    KEALOHA RECIPROCAL                              Photograph of 3934 Nioi Place, the former residence of Florence Puana and
         DISCOVERY                                       Gerard Puana (front of the house)

02-01    KEALOHA-REPORTS-      KEALOHA-REPORTS-037336 Dr. Blanchette Examination of Florence Puana, dated April 19, 2015
         037333




                                                                                  2
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 4 of 37                                       PageID #:
                                                       UNITED STATES v.5145
                                                                       KEALOHA, et al.,
                                                                        17CR0582-JMS-RLP
                                                                     GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                              DESCRIPTION                                        DATE   MARKED ADMITTED
  NO:                                                                                                                                        OFFERED

02-02   KEALOHA-REPORTS-        KEALOHA-REPORTS-037079 Dr. Blanchette Evaluation of Florence Puana, dated April 19, 2015
        037078
03-01   KEALOHA-13-1-0686-                                Katherine Kealoha's Petition (cover page) to have Florence Puana declared
        PUANA-003236                                      incompetent, dated December 1, 2014

03-02   KEALOHA-KURASHIMA-      KEALOHA-KURASHIMA-        First Report of the Kokua Kanawai dated May 13, 2015
        000317                  000321
03-03   KEALOHA-KURASHIMA-      KEALOHA-KURASHIMA-        Report of the Kokua Kanawai dated May 26, 2015
        000322                  000330

05-01   KEALOHA-GJEX-WK-002- KEALOHA-GJEX-WK-002-         Bank of Hawaii Final Statement for Florence Puana-Katherine Kealoha Joint
        000001               000002                       Account 1502, closed by Katherine Kealoha on January 24, 2013

06-01   KEALOHA-GJEX-FR-001-                              Photograph of Kealoha's Mail Box - Base
        000001
06-02   KEALOHA-GJEX-FR-002-                              Photograph of Kealoha's Mail Box - Top of Base
        000001
06-03   KEALOHA-GJEX-FR-003-                              Handwritten Statement by Katherine Kealoha of alleged mailbox theft on
        000001                                            Honolulu PD Statement Form 252, dated June 22, 2013

06-04   KEALOHA-HPD-000010      KEALOHA-HPD-000015        Honolulu Police Department Incident Report by Frederick Rosskopf for Theft of
                                                          Mailbox/Mail, dated June 22,2 013

06-05   KEALOHA-GJ-BL049-                                 Handwritten Statement by Katherine Kealoha after watching video of alleged
        000075                                            mailbox theft and identifying Gerard Puana as the suspect on Honolulu PD
                                                          Statement Form 252, dated June 29, 2013

07-01   KEALOHA-SILVERT-                                  CD - Video of Multiple Surveillance Cameras outside Kealoha's residence
        000574
07-02   KEALOHA-SHAUGHNESSY-                              Screen shot - File structure of CD marked as Exhibit 7-1 containing video of
        000001                                            multiple surveillance cameras

07-03   KEALOHA-MEDIA-000002                              CD - Surveillance Video of Camera 01 (CH 1) at Kealoha's residence




                                                                                    3
                            Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 5 of 37                               PageID #:
                                                    UNITED STATES v.5146
                                                                    KEALOHA, et al.,
                                                              17CR0582-JMS-RLP
                                                           GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                    DESCRIPTION                                        DATE   MARKED ADMITTED
  NO:                                                                                                                              OFFERED

07-03A   KEALOHA-SHAUGHNESSY-                   Screen shot - File structure of CD marked as Exhibit 7-3 containing surveillance
         000002                                 video of Camera 01 (CH 1) at Kealoha's residence and screenshots of video


07-04    KEALOHA-MEDIA-000003                   CD - Surveillance Video of Camera 02 (CH 2) at Kealoha's residence

07-04A   KEALOHA-SHAUGHNESSY-                   Screen shot - File structure of CD marked as Exhibit 7-4 containing surveillance
         000003                                 video of Camera 02 (CH 2) at Kealoha's residence as well as screenshots of video


07-05    KEALOHA-SILVERT-                       Screen shot of surveillance video stamped: 2013-06-21 23-00-35 CH 2
         000581
07-06    KEALOHA-SILVERT-                       Screen shot of surveillance video stamped: 2013-06-21 23-00-37 CH 1
         000582
07-07    KEALOHA-SILVERT-                       Screen shot of surveillance video stamped: 2013-06-21 23-24-47 CH 2
         000583
07-08    KEALOHA-SILVERT-                       Screen shot of surveillance video stamped: 2013-06-21 23-24-40 CH 1
         000584
07-09    KEALOHA-SILVERT-                       Screen shot of surveillance video stamped: 2013-06-21 23-31-58 CH 1
         000585
07-10    KEALOHA-REPORTS-                       Crop of screen shot from surveillance video shown to Mark Owen - White car
         000556                                 (driveway angle)

07-11    KEALOHA-REPORTS-                       Crop of screen shot from surveillance video shown to Mark Owen - White car
         000557                                 (driveway angle)

07-12    KEALOHA-REPORTS-                       Crop of screen shot from surveillance video shown to Mark Owen - White car
         000558                                 (driveway angle)

07-13    KEALOHA-REPORTS-                       Crop of screen shot from surveillance video shown to Mark Owen - White car
         000559                                 (driveway angle)

07-14    KEALOHA-REPORTS-                       Crop of screen shot from surveillance video shown to Mark Owen - White car
         000551                                 approaching



                                                                          4
                             Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 6 of 37                            PageID #:
                                                     UNITED STATES v.5147
                                                                     KEALOHA, et al.,
                                                                17CR0582-JMS-RLP
                                                             GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:             END BATES NO:                                   DESCRIPTION                                        DATE   MARKED ADMITTED
  NO:                                                                                                                               OFFERED

07-15   KEALOHA-REPORTS-                          Crop of screen shot from surveillance video shown to Mark Owen - Male behind
        000552                                    white car

07-16   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-32-27 CH 1
        000586
07-17   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-32-32 CH 1
        000587
07-18   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-32-41 CH 6
        000588
07-19   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-32-42 CH 1
        000589
07-20   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-32-43 CH 6
        000591
07-21   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-32-43 CH 1
        000590
07-22   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-32-45 CH 1
        000592
07-23   KEALOHA-REPORTS-                          Screen shot from surveillance video shown to Mark Owen - Male next to white
        000555                                    car

07-24   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-32-49 CH 1
        000593
07-25   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-33-00 CH 2
        000594
07-26   KEALOHA-SILVERT-                          Screen shot of surveillance video stamped: 2013-06-21 23-33-01 CH 2
        000595
07-27   KEALOHA-GJ-BL038-USPIS-                   Email from Katherine Kealoha to Brian Shaughnessy, dated May 29, 2014 - "barely
        000227                                    a felony"

07-28   KEALOHA-GJ-BL038-USPIS-                   Email from Katherine Kealoha to Brian Shaughnessy, dated January 12, 2015 -
        000226                                    Receipt of check for gift




                                                                           5
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 7 of 37                                      PageID #:
                                                       UNITED STATES v.5148
                                                                       KEALOHA, et al.,
                                                                         17CR0582-JMS-RLP
                                                                      GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:             END BATES NO:                                             DESCRIPTION                                         DATE   MARKED ADMITTED
  NO:                                                                                                                                          OFFERED

07-29   KEALOHA-GJ-BL038-USPIS- KEALOHA-GJ-BL038-USPIS- Interview of Katherine Kealoha on July 3, 2013 by USPIS
        000218                  000219
07-30   KEALOHA-GJ-BL038-USPIS-                            Interview of Minh-Hung "Bobby" Nguyen on July 5, 2013 by USPIS
        000307
07-31   KEALOHA-GJ-BL038-USPIS-                            Handwritten Statement by Katherine Kealoha of alleged mailbox theft on
        000220                                             Honolulu PD Statement Form 252, dated June 22, 2013

07-32   KEALOHA-USPIS-000113                               FBI Receipt of Property and Chain of Custody receiving evidence from Brian
                                                           Shaughnessy (USPIS)

07-33   KEALOHA-USPIS-000150;                              Chain of Custody Receipt of one CD (Screen Shots) and One DVD (Master) by
        KEALOHA-USPIS-                                     USPIS and copy of items received
        000001 04
07-34   KEALOHA-USPIS-000149;                              Chain of Custody Receipt of two CDs (Camera 1 and Camera 2) by USPIS and copy
        KEALOHA-USPIS-                                     of items received
        000114 120
08-01   KEALOHA-MEDIA-000028                               FBI Enhanced Surveillance Video of Camera 1 and Camera 2 of the alleged
                                                           mailbox theft outside Katherine Kealoha's residence on June 21, 2013

08-02   KEALOHA-HEROLD-                                    FBI Enhanced photograph stills from surveillance video- Lexus driver with maibox-
        000003                                             Camera 1

08-03   KEALOHA-HEROLD-                                    FBI Enhanced photograph stills from surveillance video-Lexus driver walking back
        000004                                             with mailbox-Camera 1

08-04   KEALOHA-HEROLD-                                    FBI Enhanced photograph stills from surveillance video-Lexus driver walking back
        000005                                             with mailbox-closeup with facial hair-Camera 1

08-05   KEALOHA-HEROLD-                                    FBI Enhanced photograph stills from surveillance video-Lexus driver walking back
        000006                                             with mailbox-closeup with facial hair-slight turn toward camera-Camera 1


08-06   KEALOHA-HEROLD-                                    FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000007                                             facial hair-putting maibox in Lexus-Camera 1

08-07   KEALOHA-HEROLD-                                    FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000008                                             facial hair-putting maibox in Lexus-Camera 1



                                                                                    6
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 8 of 37                                 PageID #:
                                                       UNITED STATES v.5149
                                                                       KEALOHA, et al.,
                                                                     17CR0582-JMS-RLP
                                                                  GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                           DESCRIPTION                                         DATE   MARKED ADMITTED
  NO:                                                                                                                                      OFFERED

08-08   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000009                                         facial hair-putting maibox in Lexus-Camera 1

08-09   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000010                                         facial hair-putting maibox in Lexus-Camera 1

08-10   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000011                                         facial hair-putting maibox in Lexus-Camera 1

08-11   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000012                                         facial hair-putting maibox in Lexus-Camera 1

08-12   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000013                                         facial hair-putting maibox in Lexus-Camera 1
08-13   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000014                                         facial hair-putting maibox in Lexus-Camera 1
08-14   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000015                                         facial hair-putting maibox in Lexus-Camera 1

08-15   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000016                                         facial hair-putting maibox in Lexus-Camera 1

08-16   KEALOHA-HEROLD-                                FBI Enhanced photograph stills from surveillance video-Lexus driver -closeup with
        000017                                         facial hair-putting maibox in Lexus-Camera 1

09-01   KEALOHA-GJEX-MS-001-    KEALOHA-GJEX-MS-001-   Google Photograph of 1018 Kealaolu Ave - street view before alleged mailbox
        000001                  000001                 theft

09-02   KEALOHA-GJEX-MS-001-    KEALOHA-GJEX-MS-001-   Google Photograph of 1018 Kealaolu Ave - slightly mauka before alleged mailbox
        000002                  000002                 theft

09-03   KEALOHA-GJEX-MS-001-    KEALOHA-GJEX-MS-001-   Google Photograph of 1018 Kealaolu Ave - closeup of mailbox before the alleged
        000003                  000003                 mailbox theft

09-04   KEALOHA-000018                                 Photograph of Kealoha's Gibraltar Mailbox




                                                                                7
                            Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 9 of 37                                         PageID #:
                                                    UNITED STATES v.5150
                                                                    KEALOHA, et al.,
                                                                         17CR0582-JMS-RLP
                                                                      GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                             DESCRIPTION                                          DATE   MARKED ADMITTED
  NO:                                                                                                                                         OFFERED

09-05   KEALOHA-000019                                   Photograph of Kealoha's Gibraltar Mailbox after landscaping with street view


09-06   KEALOHA-000020                                   Photograph of Kealoha's Gibraltar Mailbox after landscaping with house view


09-07   KEALOHA-000021                                   Photograph of Kealoha's Gibraltar Mailbox after landscaping with house view and
                                                         street view

09-08   KEALOHA-000022                                   Photograph of Kealoha's Gibraltar Mailbox after landscaping from across the
                                                         street

10-01   KEALOHA-REPORTS-                                 Photographs of characteristics of the Kealoha's Gibraltar mailbox, posts and parts
        028426                                           identified with letters A, B, C, D, and E

10-02   KEALOHA-REPORTS-                                 Photographs and images of Gibraltar mailbox and torque needed to remove from
        028427                                           post, with letters F, G, H, and I

10-03   KEALOHA-REPORTS-                                 Photograph of top of Kealoha's Gibraltar post and fastener with letter J
        028428
10-04   KEALOHA-REPORTS-                                 Photograph of top of Kealoha's Gibraltar post and fastener with letter K
        028429
10-05   KEALOHA-REPORTS-        KEALOHA-REPORTS-028449 Gibraltar Mailbox Assembly Schematic
        028448
10-06   PHYSICAL                                         Gibraltar Mailbox - PHYSICAL

10-07   PHYSICAL                                         Gaines Mailbox - PHYSICAL

11-01   PHYSICAL                                         Hard Drive

11-02   KEALOHA-GJ-BL047-HPD-                            CIU DVR DRIVE list
        000002
11-03   KEALOHA-GJEX-LS-002-                             Screen shot of CIU ceiling light with metadata dated May 21, 2014
        000001
11-04   KEALOHA-GJEX-LS-002-                             Screen shot of CIU ceiling and male with metadata dated May 27, 2014
        000002



                                                                                   8
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 10 of 37                              PageID #:
                                                        UNITED STATES v.5151
                                                                        KEALOHA, et al.,
                                                                 17CR0582-JMS-RLP
                                                              GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                     DESCRIPTION                                        DATE   MARKED ADMITTED
  NO:                                                                                                                                OFFERED

11-05   KEALOHA-GJEX-LS-002-                       Screen shot of CIU office, wires, and male with metadata dated May 27, 2014
        000003
11-06   KEALOHA-GJEX-LS-002-                       Screen shot of CIU office, wires, and male with metadata dated May 27, 2014
        000004

11-07   KEALOHA-GJEX-LS-002-                       Screen shot of CIU office and CIU Tech Benjy Tokioka with metadata dated
        000005                                     May 27, 2014

11-08   KEALOHA-GJEX-LS-002-                       Screen shot of CIU office and wires with metadata dated May 27, 2014
        000006
11-09   KEALOHA-GJEX-LS-002-                       Screen shot of CIU office and CIU Tech Benjy Tokioka with metadata dated May
        000007                                     27, 2014
11-10   KEALOHA-GJEX-LS-002-                       Screen shot of CIU ceiling and CIU Sergeant Alvin Lum (metadata dated May 27,
        000008                                     2014 contained on Gov. Exhibit 11-04)

11-11   KEALOHA-GJEX-LS-001-                       Screen shot of Kealoha's driveway at 1018 Kealaolu with metadata dated August
        000001                                     13, 2013

11-12   KEALOHA-REPORTS-                           Screen shot of Minh-Hung "Bobby" Nguyen at Kealoha's residence (street view)
        037556A                                    with metadata dated June 17, 2013

11-13   KEALOHA-REPORTS-                           Screen shot of Kealoha's driveway at 1018 Kealaolu with metadata dated June 21,
        037556B                                    2013

11-14   KEALOHA-REPORTS-                           Screen shot of Minh-Hung "Bobby" Nguyen at Kealoha's residence (driveway)
        037557                                     with hard drive in his hand on June 17, 2013

11-15   KEALOHA-REPORTS-                           Screen shot (close up) of Minh-Hung "Bobby" Nguyen at Kealoha's residence
        037558                                     (driveway) with hard drive in his hand on June 17, 2013

12-01   KEALOHA-GJEX-LS-003-                       Screen shot - hard drive formatted with metadata dated October 14, 2014
        000001
14-01   KEALOHA-PUANA-PIC-                         Photograph of Gerard Puana
        000001




                                                                            9
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 11 of 37                                PageID #:
                                                       UNITED STATES v.5152
                                                                       KEALOHA, et al.,
                                                                   17CR0582-JMS-RLP
                                                                GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                        DESCRIPTION                                          DATE   MARKED ADMITTED
  NO:                                                                                                                                    OFFERED

15-01    KEALOHA-GJEX-LGU-01-                        Order dated May 20, 2014, granting application by Federal Defenders for issuance
         000001                                      of subpoena for video surveillance footage at the Kealoha residence from noon of
                                                     June 20, 2013 through 5:30 a.m. on June 22, 2013

15-02    KEALOHA-GJEX-LGU-02-                        Subpoena dated May 22, 2014, served on Katherine Kealoha and Louis Kealoha to
         000001                                      produce video surveillance footage at the Kealoha residence from noon of June
                                                     20, 2013 through 5:30 a.m. on June 22, 2013

15-03    KEALOHA-GJEX-LGU-03-                        Letter dated June 10, 2014, to District Court from HPD regarding subpoenas to
         000001                                      Katherine Kealoha and Louis Kealoha seeking the video surveillance footage at the
                                                     Kealoha residence from noon of June 20, 2013 through 5:30 a.m. on June 22,
                                                     2013

16-01    KEALOHA-ACKERMAN-      KEALOHA-ACKERMAN-    Summary Chart - Evidence Gathered During FBI Investigation
         000001                 000002
16-02    KEALOHA-ACKERMAN-      KEALOHA-ACKERMAN-    Summary Chart - Pertinent Phone Numbers and Means of Associating Numbers
         000003                 000004               with Katherine Kealoha, Louis Kealoha, Derek Hahn, Minh-Hung "Bobby" Nguyen
                                                     and Gordon Shiraishi
16-03    KEALOHA-16MC0224-                           Yahoo Account Profile for "Alison Lee Wong's" email account
         YAHOO-ALISONLEEWONG-                        "alisonleewong@yahoo.com" created on August 3, 2007
         0000016
16-03A   KEALOHA-16MC0224-                           Yahoo - COA
         YAHOO-ALISONLEEWONG-
16-04    KEALOHA-16MC0237-                           Yahoo Account Profile for Katherine Kealoha's email account
         YAHOO-                                      "toandfrompepper@yahoo.com" created on January 26, 2010
16-04A   KEALOHA-16MC0237-                           Yahoo - COA
         YAHOO-
16-05    KEALOHA-GJ-BL602-                           Yahoo Account Profile for Katherine Kealoha's email account
         YAHOO-000004                                "kathykealoha@yahoo.com" created on January 26, 2010

16-05A   KEALOHA-GJ-BL602-                           Yahoo - COA
         YAHOO-000001
16-06    KEALOHA-HI-SENATE-     KEALOHA-HI-SENATE-   Letter of Support for Katherine Kealoha from "Alison L.Y.F. Wong" to the Hawaii
         000088                 000089               Senate Committee on Energy and Environment, dated February 20, 2008




                                                                              10
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 12 of 37                                        PageID #:
                                                       UNITED STATES v.5153
                                                                       KEALOHA, et al.,
                                                                         17CR0582-JMS-RLP
                                                                      GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                              DESCRIPTION                                       DATE   MARKED ADMITTED
  NO:                                                                                                                                        OFFERED

16-06A   KEALOHA-HI-SENATE-                                Certification for 16-06 (Letter from Alison Lee Wong in support of Katherine
         000001                                            Kealoha)

16-07    KEALOHA-REPORTS-        KEALOHA-REPORTS-000774 Interview of Gordon Shiraishi on November 16, 2015
         000770
16-08    KEALOHA-REPORTS-        KEALOHA-REPORTS-NOTES- FBI Notes of Gordon Shiraishi interview on November 16, 2015
         NOTES-000115            000120
16-09    KEALOHA-REPORTS-        KEALOHA-REPORTS-NOTES- FBI Notes of Gordon Shiraishi interview on January 6, 2016
         NOTES-001428            001434
16-10    KEALOHA-REPORTS-                               CLIP 001 - KHNL - News Interview of Louis Kealoha, September 26, 2014
         023147
16-11    KEALOHA-REPORTS-                                  CLIP 002 - KHNL - News Interview of Louis Kealoha, September 26, 2014
         023147
16-12    KEALOHA-REPORTS-                                  CLIP 003 - KHNL - News Interview of Louis Kealoha, September 26, 2014
         023147
16-13    KEALOHA-16MC0366-       KEALOHA-16MC0366-         Facebook business record for "Alison Leewong" Facebook account, registered on
         FACEBOOK-AWONG-         FACEBOOK-AWONG-           September 22, 2009
         000030                  000032
16-13A   KEALOHA-16MC0366-                                 Facebook - COA
         FACEBOOK-AWONG-
16-14    KEALOHA-GJ-BL13-ATT-                              AT&T Subscriber Information for Minh-Hung "Bobby" Nguyen's phone number
         010105                                            (808) 783-8309
16-14A   KEALOHA-GJ-BL013-ATT-                             AT&T - COA
         010119
16-15    KEALOHA-GJ-BL12-                                  Experian Report showing Katherine Kealoha's addresses and phone numbers
         EXPERIAN-000003

16-15A   KEALOHA-GJ-BL012-       KEALOHA-GJ-BL012-         Experian - COA
         EXPERIAN-000001         EXPERIAN-000002

16-16    KEALOHA-GJ-BL29-        KEALOHA-GJ-BL29-          Hawaiian Telecom Subscriber Information for Katherine Kealoha's phone number
         HITELCOM-000002         HITELCOM-000003           (808) 739-2121
16-16A   KEALOHA-GJ-BL29-                                  Hawaiian Telecom - COA
         HITELCOM-000063


                                                                                    11
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 13 of 37                                           PageID #:
                                                       UNITED STATES v.5154
                                                                       KEALOHA, et al.,
                                                                          17CR0582-JMS-RLP
                                                                       GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                                DESCRIPTION                                         DATE   MARKED ADMITTED
  NO:                                                                                                                                            OFFERED

16-17    KEALOHA-GJ-BL16-        KEALOHA-GJ-BL16-VERIZON- Verizon Subscriber Information for Katherine Kealoha's phone number (808) 445-
         VERIZON-000290          000291                   5761
16-17A   KEALOHA-GJ-BL016-                                Verizon - COA
         VERIZON-000484
16-18    KEALOHA-GJ-BL520-                                  Hawaiian Telecom Subscriber Information for Katherine Kealoha's phone
         HITELCOM-000366                                    numbers (808) 436-2885 and (808) 739-2121
16-18A   KEALOHA-GJ-BL520-                                  Hawaiian Telecom - COA
         HITELCOM-000001
16-19    KEALOHA-GJ-BL80-        KEALOHA-GJ-BL80-VERIZON- Verizon Subscriber Information for Gordon Shiraishi's phone number (808) 284-
         VERIZON-000009          000014                   5314
16-19A   KEALOHA-GJ-BL80-                                 Verizon - COA
         VERIZON-000008
17-01    KEALOHA-HEC-002674      KEALOHA-HEC-002674.05      Email to Katherine Kealoha regarding Solar Proposal and Agreement for Dan
                                                            Gomez on May 24, 2014

17-02    KEALOHA-16MC0208-                                  Discount Energy Solutions, LLC business record - Annual Report, dated April 1,
         000945                                             2015

17-03    KEALOHA-16MC0208-                                  Discount Energy Solutions, LLC business record - BREG Online Services showing
         000946                                             registration date of May 17, 2014

17-04    KEALOHA-16MC0208-                                  Discount Energy Solutions, LLC business record - BREG Online Services showing
         000947                                             filing status for organization and dissolution

17-05    KEALOHA-16MC0208-                                  Discount Energy Solutions, LLC business record - Statement of Dissociation
         000948                                             certified by Derek Hahn on December 30, 2014

17-06    KEALOHA-16MC0208-                                  Discount Energy Solutions, LLC business record - BREG Online Services showing
         000944                                             Bronson Tokioka as Member, dated April 1, 2015

17-07    KEALOHA-GJ-BL021-UPS- KEALOHA-GJ-BL021-UPS-        Discount Energy Solutions, LLC business record - Articles of Organization for LLC,
         000014                0000015                      dated May 17, 2014

17-07A   KEALOHA-GJ-BL021-UPS-                              UPS - COA for Articles of Organization (EX 17-07) and Application for Post Office
         000001                                             Box (Ex 17-08), dated September 21, 2015.




                                                                                      12
                             Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 14 of 37                                      PageID #:
                                                      UNITED STATES v.5155
                                                                      KEALOHA, et al.,
                                                                      17CR0582-JMS-RLP
                                                                   GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                             DESCRIPTION                                         DATE   MARKED ADMITTED
  NO:                                                                                                                                        OFFERED

17-08   KEALOHA-GJ-BL021-UPS-                           Katherine Kealoha adding Bronson Tokioka to P.O. Box 829 for purposes of
        000016                                          Discount Eneregy Solutions, LLC, dated September 10, 2014

17-09   KEALOHA-HEC-002661                              Email to Katherine Kealoha regarding language for PO's on August 24, 2014


17-10   KEALOHA-HEC-002662                              Email to Katherine Kealoha regarding order to JW on August 24, 2014

17-11   KEALOHA-HEC-002726      KEALOHA-HEC-002726.04   Discount Energy Solutions, LLC business record - Articles of Organization for LLC,
                                                        dated May 17, 2014

17-12   KEALOHA-HEC-002786.02                           Discount Energy Solutions, LLC business record - "Labor Day" marketing flyer


19-01   KEALOHA-LUM-000001      KEALOHA-LUM-000024      Summary Chart - showing phone contact between Co-Conspirators from June 16,
                                                        2013 to July 6, 2013

19-02   KEALOHA-LUM-000025                              Summary Chart - showing Calls Covering July 5, 2013 (Postal Inspector Interviews)


19-03   KEALOHA-LUM-000041      KEALOHA-LUM-000045      Summary Chart - showing Telephone Contact between Katherine Kealoha, Louis
                                                        Kealoha, Bobby Nguyen, Derek Hahn and Niall Silva from June 17, 2014 to June
                                                        20, 2014
19-04   KEALOHA-LUM-000046                              Summary Chart - showing Contacts on June 17, 2014 to June 18, 2014 (Postal
                                                        Inspector Interviews)

19-05   KEALOHA-LUM-000031      KEALOHA-LUM-000032      Summary Chart - showing Telephone Contact between Katherine Kealoha, Louis
                                                        Kealoha, Bobby Nguyen, Derek Hahn and Niall Silva from December 1, 2014 to
                                                        December 5, 2014

19-06   KEALOHA-LUM-000033                              Summary Chart - showing Contacts on December 4, 2014 (Gerard Puana Federal
                                                        Trial)
19-07   KEALOHA-LUM-000034                              Summary Chart - showing Telephone Contacts between Katherine Kealoha, Louis
                                                        Kealoha, Minh-Hung "Bobby" Nguyen, Derek Hahn and Niall Silva from November
                                                        23, 2015 to November 24, 2015




                                                                                  13
                             Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 15 of 37                                      PageID #:
                                                      UNITED STATES v.5156
                                                                      KEALOHA, et al.,
                                                                       17CR0582-JMS-RLP
                                                                    GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                            DESCRIPTION                                       DATE   MARKED ADMITTED
  NO:                                                                                                                                     OFFERED

19-08   KEALOHA-LUM-000035                               Summary Chart - showing Telephone Contacts between Katherine Kealoha, Minh-
                                                         Hung "Bobby" Nguyen, and Niall Silva from November 23, 2015 to November 24,
                                                         2015

19-09   KEALOHA-LUM-000036                               Summary Chart - showing Telephone Contacts between Derek Hahn and Niall
                                                         Silva from May 2013 to December 2015

19-10   KEALOHA-LUM-000037                               Graph showing Telephone Contacts between Derek Hahn and Niall Silva from May
                                                         2013 to December 2015

19-11   KEALOHA-LUM-000038      KEALOHA-LUM-000039       Summary Chart - showing Telephone Contacts between Minh-Hung "Bobby"
                                                         Nguyen and Niall Silva from May 2013 to December 2015

19-12   KEALOHA-LUM-000040                               Graph showing Telephone Contacts between Minh-Hung "Bobby" Nguyen and
                                                         Niall Silva from May 2013 to December 2015

19-13   KEALOHA-GJ-BL16-                                 Summary Chart - showing Telephone Contact between Derek Hahn and John
        VERIZON-000476                                   McCarthy on September 25, 2014

19-14   VARIOUS                                          AT&T, Verizon, Sprint, and Hawaiian Telecom - COAs


20-01   KEALOHA-REPORTS-        KEALOHA-REPORTS-030841 Subpoenaed Documents found in CIU shred bag in January 2018
        030818

21-01   KEALOHA-GJ-BL127-HPD- KEALOHA-GJ-BL127-HPD-      CIU Daily Attendance Reports-June 19-30, 2013
        000019                000030

21-02   KEALOHA-GJ-BL048-HPD-                            HPD business record - Phone numbers assigned to HPD Employees
        000001

21-03   KEALOHA-GJ-BL049-HPD-                            Report regarding Louis Kealoha's injury on January 15, 2013 at HPD gym with
        000124                                           Gordon Shiraishi as witness

21-04   KEALOHA-GJEX-BN-010-    KEALOHA-GJEX-BN-010-     Derek Hahn's burglary report at the Kealoha's residence with Bobby Nguyen as
        000001                  000001                   the reporting party, dated March 30, 2012




                                                                                 14
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 16 of 37                                   PageID #:
                                                        UNITED STATES v.5157
                                                                        KEALOHA, et al.,
                                                                      17CR0582-JMS-RLP
                                                                   GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                            DESCRIPTION                                      DATE   MARKED ADMITTED
  NO:                                                                                                                                     OFFERED

21-05   KEALOHA-GJ-BL731-HPD-                           Graduation Program for HPD's 85th Police Recruit Class listing Gordon Shiraishi
        000002                                          and Louis Kealoha

22-01   KEALOHA-GJEX-AS-001-     KEALOHA-GJEX-AS-001-   Photograph of Gibraltar mailbox
        000001                   000001

22-02   KEALOHA-GJEX-AS-007-     KEALOHA-GJEX-AS-007-   Photograph of Gaines mailbox
        000001                   000001
22-03   KEALOHA-HEC-001878                              Affidavit of Derek Hahn, dated November 25, 2014, in response to a subpoena
                                                        from Federal Defenders regarding HPD cars

22-04   KEALOHA-000002                                  Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (front)
                                                        [post with new rural box on top]

22-05   KEALOHA-000003                                  Photograph of replacement Gibraltar Mailbox at the Kealoha's residence
                                                        (front)[post with new rural box on top]

22-06   KEALOHA-000004                                  Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (back)
                                                        [post with new rural box on top]

22-07   KEALOHA-000005                                  Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (back)
                                                        [post with new rural box on top]

22-08   KEALOHA-000006                                  Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (back)
                                                        [post with new rural box on top]

22-09   KEALOHA-000007                                  Photograph of replacement Gibraltar Mailbox at the Kealoha's residence and
                                                        Sidewalk [post with new rural box on top]

22-10   KEALOHA-000008                                  Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (front)
                                                        [post with new rural box on top]

22-11   KEALOHA-000009                                  Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (side)
                                                        [post with new rural box on top]




                                                                                 15
                           Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 17 of 37                                    PageID #:
                                                    UNITED STATES v.5158
                                                                    KEALOHA, et al.,
                                                                     17CR0582-JMS-RLP
                                                                  GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:        END BATES NO:                                             DESCRIPTION                                      DATE   MARKED ADMITTED
  NO:                                                                                                                                  OFFERED

22-12   KEALOHA-000010                                 Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (post)
                                                       [post with new rural box on top]

22-13   KEALOHA-000011                                 Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (base)
                                                       [post with new rural box on top]

22-14   KEALOHA-000012                                 Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (back
                                                       showing Gibraltar name)[new rural box on top]

22-15   KEALOHA-000013                                 Photograph of replacement Gibraltar Mailbox at the Kealoha's residence
                                                       (back)[new rural box on top]

22-16   KEALOHA-000014                                 Photograph of replacement Gibraltar Mailbox at the Kealoha's residence (back
                                                       showing Gibraltar name) [new rural box on top]

23-01   KEALOHA-OLEKSOW-     KEALOHA-OLEKSOW-          Handwriting expert's report [Living trust; Katherine Kealoha's handwritten
        000035               000201                    statement on June 22, 2013 on HPD Form 252; Box addressed to Gerard Puana]


23-02   KEALOHA-OLEKSOW-     KEALOHA-OLEKSOW-          Handwriting exemplars - Katherine Kealoha
        000073               000076

23-03   KEALOHA-REPORTS-     KEALOHA-REPORTS-026249 Handwriting exemplars - Gerard Puana
        026246

23-04   KEALOHA-OLEKSOW-                               Handwriting comparison - "Alison Lee Wong"
        000170

23-05   KEALOHA-OLEKSOW-     KEALOHA-OLEKSOW-          Handwriting comparison - shipping address on box to Gerard Puana
        000188               000191

24-01   KEALOHA-REPORTS-     KEALOHA-REPORTS-012810 Revocable Living Trust Agreement created by Katherine Kealoha in the name of
        012797                                      Gerard Puana, allegedly notarized by "Alison Lee Wong," dated January 19, 2007




                                                                               16
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 18 of 37                                PageID #:
                                                       UNITED STATES v.5159
                                                                       KEALOHA, et al.,
                                                                     17CR0582-JMS-RLP
                                                                  GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                         DESCRIPTION                                       DATE   MARKED ADMITTED
  NO:                                                                                                                                   OFFERED

24-02    KEALOHA-GJEX-GKP-009- KEALOHA-GJEX-GKP-009-   Photograph of shipping box and label sent by Katherine Kealoha to Gerard Puana
         000001                000002

24-03    KEALOHA-GJEX-GKP-009-                         Photograph of contents of box sent to Gerard Puana by Katherine Kealoha
         000003

24-04    KEALOHA-HEC-000516      KEALOHA-HEC-000529    Gerard Puana's 2004 Calendar

24-05    KEALOHA-HEC-000530      KEALOHA-HEC-000542    Gerard Puana's 2005 Calendar

24-06    KEALOHA-HEC-000543      KEALOHA-HEC-000556    Gerard Puana's 2006 Calendar

24-07    KEALOHA-HEC-000557      KEALOHA-HEC-000569    Gerard Puana's 2007 Calendar

24-07A   KEALOHA-GJEX-GKP-001-                         Gerard Puana's February of 2007 Calendar
         000001
24-08    KEALOHA-HEC-000570      KEALOHA-HEC-000582    Gerard Puana's 2008 Calendar

24-08A   KEALOHA-GJEX-GKP-002-                         Gerard Puana's November of 2008 Calendar
         000001

24-09    KEALOHA-HEC-000583      KEALOHA-HEC-000595    Gerard Puana's 2009 Calendar

24-09A   KEALOHA-GJEX-GKP-003- KEALOHA-GJEX-GKP-006-   Gerard Puana's January, March, May, October 2009 Calendar
         000001                000001
24-10    KEALOHA-HEC-000596      KEALOHA-HEC-000608    Gerard Puana's 2010 Calendar

24-11    KEALOHA-HEC-000609      KEALOHA-HEC-000619    Gerard Puana's 2011 Calendar

24-12    KEALOHA-HEC-000620      KEALOHA-HEC-000632    Gerard Puana's 2012 Calendar

24-13    KEALOHA-HEC-000633      KEALOHA-HEC-000646    Gerard Puana's 2013 Calendar




                                                                               17
                             Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 19 of 37                                      PageID #:
                                                      UNITED STATES v.5160
                                                                      KEALOHA, et al.,
                                                                       17CR0582-JMS-RLP
                                                                    GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                             DESCRIPTION                                      DATE   MARKED ADMITTED
  NO:                                                                                                                                     OFFERED

24-14   KEALOHA-GJEX-GKP-007-                            Gerard Puana's Safety Deposit Box - Sign-in sheet to enter
        000001
24-15   KEALOHA-GJEX-GKP-010-                            Photograph - Gerard Puana on Saturday June 22, 2013
        000001
24-16   KEALOHA-GJEX-GKP-010-                            Photograph - Florence Puana on Saturday June 22, 2013
        000002
24-17   KEALOHA-GJEX-GKP-010-                            Photograph - Gerard Puana on Saturday June 22, 2013
        000003
24-18   KEALOHA-REPORTS-                                 Email from Katherine Kealoha to Gerard Puana regarding mortgage payment and
        021896                                           maintenance fees due and payable to Katherine Kealohoa, dated January 26,
                                                         2010

24-19   KEALOHA-MAPS-000001                              Google Earth satellite photograph of Nioi Place and Iwi Way (marked)


24-20   KEALOHA-MAPS-000002                              Google Earth satellite photograph of Nioi Place and Iwi Way (unmarked)


24-21   KEALOHA-USAOHI-                                  Photograph of Gerard Puana's Silver Pontiac (close)
        BOX001-000757
24-22   KEALOHA-USAOHI-                                  Photograph of of Gerard Puana's Silver Pontiac
        BOX001-000758

24-23   KEALOHA-REPORTS-        KEALOHA-REPORTS-037352 Photograph of HGEA Bulding Lobby where Minh-Hung "Bobby" Nguyen
        037352                                         questioned Florence Puana

24-24   KEALOHA-REPORTS-        KEALOHA-REPORTS-037353 Photograph of HGEA Bulding Lobby with front door where Minh-Hung "Bobby"
        037353                                         Nguyen questioned Florence Puana

24-25   KEALOHA-13-1-0686-      KEALOHA-13-1-0686-       Greenwood Appartment Deed of Trust recorded by Katherine Kealoha, dated
        PUANA-000584            PUANA-000592             October 5, 2009

24-26   KEALOHA-HEC-001755                               Record confirming Gerard Puana 911 call reporting he is under surveillance,
                                                         provides Plate RWD707 (Cusumano's vehicle), on June 27, 2013




                                                                                  18
                             Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 20 of 37                                         PageID #:
                                                      UNITED STATES v.5161
                                                                      KEALOHA, et al.,
                                                                       17CR0582-JMS-RLP
                                                                    GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:          END BATES NO:                                              DESCRIPTION                                          DATE   MARKED ADMITTED
  NO:                                                                                                                                         OFFERED

24-27   KEALOHA-REPORTS-                                 Surveillance vehicle reported - License Plate: RSJ894 - Toyota SUV registered to
        024249                                           Dru Akagi

24-28   KEALOHA-REPORTS-                                 Surveillance vehicle reported - License Plate: RTJ952 - Ford SUV registered to
        024250                                           Landon Tafaoa

24-29   KEALOHA-REPORTS-                                 Surveillance vehicle reported - License Plate: RYW552 - Nissan Truck registered to
        024251                                           Jon Costa

24-30   KEALOHA-USAOHI-        KEALOHA-USAOHI-BOX001- Photograph of Black Nissan truck following Gerard Puana, taken on June 27, 2013
        BOX001-000777          000778                 and metadata of photograph

24-31   KEALOHA-USAOHI-        KEALOHA-USAOHI-BOX001- Photograph of Black Nissan truck following Gerard Puana, taken on June 27, 2013
        BOX001-000779          000780                 and metadata of photograph

24-32   KEALOHA-USAOHI-        KEALOHA-USAOHI-BOX001- Photograph of Silver Toyota SUV following Gerard Puana, taken on June 27, 2013
        BOX001-000781          000782                 and metadata of photograph

24-33   KEALOHA-USAOHI-        KEALOHA-USAOHI-BOX001- Photograph of Black Ford SUV following Gerard Puana, taken on June 29, 2013
        BOX001-000783          000784                 and metadata of photograph

24-34   KEALOHA-USAOHI-        KEALOHA-USAOHI-BOX001- Photograph of Black Ford SUV following Gerard Puana, taken on June 29, 2013
        BOX001-000785          000786                 and metadata of photograph

25-01   KEALOHA-NAM-000003     KEALOHA-NAM-000011        Cell Site Analysis for Derek Hahn's phone number (808) 457-7265


25-02   KEALOHA-NAM-000016     KEALOHA-NAM-000025        Cell Site Analysis for Gerard Puana's phone number (808) 220-4984


26-01   KEALOHA-USAOHI-                                  Photograph of Carrie Arakaki's white Acura sedan - rear view from the left
        BOX001-000760
26-02   KEALOHA-USAOHI-                                  Photograph of Carrie Arakaki's white Acura sedan - front view from the right
        BOX001-000761

26-03   KEALOHA-REPORTS-                                 Photograph of Carrie Arakaki's white Acura sedan - Front of car
        020075



                                                                                  19
                            Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 21 of 37                                    PageID #:
                                                     UNITED STATES v.5162
                                                                     KEALOHA, et al.,
                                                                     17CR0582-JMS-RLP
                                                                  GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                          DESCRIPTION                                         DATE   MARKED ADMITTED
  NO:                                                                                                                                     OFFERED

26-04   KEALOHA-REPORTS-                               Photograph of Carrie Arakaki's white Acura sedan - Back Driver's Side
        020079
26-05   KEALOHA-REPORTS-                               Photograph of Carrie Arakaki's white Acura sedan - Back Passenger Side
        020082

26-06   KEALOHA-REPORTS-                               Photograph of Carrie Arakaki's white Acura sedan - Back Wing
        020086

26-07   KEALOHA-REPORTS-                               Photograph of Carrie Arakaki's white Acura sedan - Front Passenger Side
        020087

26-08   KEALOHA-REPORTS-                               Photograph of Carrie Arakaki's white Acura sedan - Front Passenger Side
        020088

26-09   KEALOHA-REPORTS-                               Photograph of Carrie Arakaki's white Acura sedan - Front Plate
        020090

29-01   KEALOHA-GJ-BL105-       KEALOHA-GJ-BL105-      Katherine Kealoha's handwritten notes provided to Det. Dru Akagi describing and
        DRUAKAGI-000001         DRUAKAGI-000002        identifying the Kealoha's mailbox that was reported stolen on June 21, 2013


29-02   KEALOHA-GJ-BL049-HPD-                          HPD Incident Report by Minh-Hung "Bobby" Nguyen on June 28, 2013 for
        000002                                         Burglary 2nd degree at the Kealoha residence , identifying Gerard Puana as the
                                                       suspect, page 1

29-03   KEALOHA-GJ-BL049-HPD-                          HPD Incident Report by Minh-Hung "Bobby" Nguyen on June 28, 2013 for
        000003                                         Burglary 2nd degree at the Kealoha residence, identifying Katherine Kealoha as
                                                       the complainant, page 1

29-04   KEALOHA-GJ-BL049-HPD- KEALOHA-GJ-BL-049-HPD-   HPD Incident Report by Minh-Hung "Bobby" Nguyen on June 28, 2013 for
        000004                000005                   Burglary 2nd degree at the Kealoha residence, identifying Gerard Puana as the
                                                       suspect, pages 2-3 [detailing statements of Louis Kealoha and Katherine Kealoha]




                                                                                20
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 22 of 37                                       PageID #:
                                                       UNITED STATES v.5163
                                                                       KEALOHA, et al.,
                                                                            17CR0582-JMS-RLP
                                                                         GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                                  DESCRIPTION                                     DATE   MARKED ADMITTED
  NO:                                                                                                                                          OFFERED

29-05    KEALOHA-GJ-BL049-HPD- KEALOHA-GJ-BL-049-HPD-        HPD CID Closing Report by Det. Dru Akagi's on August 9, 2013 for Burglary 2nd
         000007                000009                        degree at the Kealoha residence, identifying Gerard Puana as the suspect


32-01    KEALOHA-DMV-000001      KEALOHA-DMV-000001          Hawaii Driver's License and State Identification for Katherine Kealoha


32-02    KEALOHA-DMV-000006      KEALOHA-DMV-000006          Hawaii Driver's License and State Identification for Louis Kealoha


32-03    KEALOHA-DMV-000011      KEALOHA-DMV-000011          Hawaii Driver's License and State Identification for Derek Hahn


32-04    KEALOHA-DMV-000018      KEALOHA-DMV-000018          Hawaii Driver's License and State Identification for Gordon Shiraishi


32-05    KEALOHA-DMV-000016      KEALOHA-DMV-000016          Hawaii Driver's License and State Identification for Minh-Hung "Bobby" Nguyen


32-06    KEALOHA-DMV-000023                                  Hawaii Driver's License and State Identification for Niall Silva


32-07    KEALOHA-GJEX-JM-001-    KEALOHA-GJEX-JM-001-        Text messages between Katherine Kealoha and John McCarthy requesting
         000001                  000003                      meeting on June 24, 2013

33-01    KEALOHA-LK-HD-000001                                Email from Katherine Kealoha to Derek Hahn and Louis Kealoha instructing Derek
                                                             Hahn not to contact John McCarthy

35-01    KEALOHA-GJ-BL158-ASB- KEALOHA-GJ-BL158-ASB-         Amercan Savings Bank business record showing withdrawal of $2,800 cashier's
         000074                000075                        check from Niall Silva's account on Saturday, June 22, 2013

35-01A   KEALOHA-GJ-BL158-ASB-                               American Savings Bank - COA
         000001
35-02    KEALOHA-GJ-BL135-       KEALOHA-GJ-BL135-APFCU- Aloha Pacific Federal Credit Union Deposit Slip for $2,800 Cashier's Check to Niall
         APFCU-000171            000172                  Silva, from Saturday, June 22, 2013

35-02A   KEALOHA-GJ-BL135-                                   Aloha Pacific Federal Credit Union - COA
         APFCU-000001


                                                                                        21
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 23 of 37                                   PageID #:
                                                        UNITED STATES v.5164
                                                                        KEALOHA, et al.,
                                                                         17CR0582-JMS-RLP
                                                                      GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                             DESCRIPTION                                       DATE   MARKED ADMITTED
  NO:                                                                                                                                       OFFERED

35-03   KEALOHA-GJEX-BT-001-     KEALOHA-GJEX-BT-001-      CIU Technical Section Stats for May 2013 to July 2013
        000001                   000005
36-01   KEALOHA-OTSUKA-          KEALOHA-OTSUKA-000065 Summary Chart - List of Financial Accounts for Katherine Kealoha and Louis
        000064                                         Kealoha

36-02   KEALOHA-OTSUKA-          KEALOHA-OTSUKA-000022 Summary Chart - Bank Account Summary of Receipts and Disbursements
        000016                                         (Chronological by Date) for Katherine Kealoha and Florence Puana Joint Account
                                                       #1502 at Bank of Hawaii from February 27, 2009 through January 24, 2013


36-03   KEALOHA-OTSUKA-          KEALOHA-OTSUKA-000024 Summary Chart - Source of Funds and Use of Funds for Katherine Kealoha and
        000023                                         Florence Puana Joint Account x1502 at Bank of Hawaii Account from February 27,
                                                       2009 through January 24, 2013

36-04   KEALOHA-OTSUKA-                                    Summary Chart - Bank Statement Mailing Addresses for Statement Dates from
        000026                                             March 2009 through January 2013 for Katherine Kealoha and Florence Puana
                                                           Joint Account x1502 at Bank of Hawaii

36-05   KEALOHA-OTSUKA-          KEALOHA-OTSUKA-000036 Summary Chart - Cash Withdrawals made by Katherine Kealoha from the
        000029                                         Katherine Kealoha and Florence Puana Joint Account x1502 at Bank of Hawaii


36-06   KEALOHA-OTSUKA-                                    Summary Chart - Greenwood Purchase and Reverse Mortgage Loan Proceeds
        000066                                             deposited into the Katherine Kealoha and Florence Puana Joint Account x1502 at
                                                           Bank of Hawaii

36-07   KEALOHA-OTSUKA-                                    Summary Chart - Greenwood Condo Summary, Total Owed to Katherine Kealoha,
        000043                                             and Deposits to Escrow
36-08   KEALOHA-OTSUKA-          KEALOHA-OTSUKA-000046 Summary Chart - Greenwood Maintenance Fee Payments from December 1, 2009
        000044                                         through January 11, 2013

36-09   KEALOHA-OTSUKA-          KEALOHA-OTSUKA-000041 Summary Chart - Gerard Puana Income Deposits into his American Savings Bank
        000040                                         Account #2439 from December 19, 2008 through May 29, 2015




                                                                                    22
                          Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 24 of 37                                     PageID #:
                                                   UNITED STATES v.5165
                                                                   KEALOHA, et al.,
                                                                    17CR0582-JMS-RLP
                                                                 GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:       END BATES NO:                                             DESCRIPTION                                      DATE   MARKED ADMITTED
  NO:                                                                                                                                 OFFERED

36-10   KEALOHA-OTSUKA-                               Summary Chart - Gerard K. Puana Revocable Trust Verification of Assets
        000042                                        Comparison between Reported and FBI Investigation

36-11   KEALOHA-OTSUKA-                               Flow Chart - Analysis of $7,000 Commission Funds between Katherine Kealoha
        000067                                        and Terry Ewart (Inflows and Outflows)

36-12   KEALOHA-OTSUKA-                               Summary Chart - Gerard Puana's Investments in and Returns out of Katherine
        000039                                        Kealoha's Bank of Hawaii Arbonne Account #2522

36-13   KEALOHA-OTSUKA-                               Summary Chart - Deposits and Withdrawals for Katherine Kealoha's Bank of
        000027                                        Hawaii Arbonne Account #2522

36-14   KEALOHA-OTSUKA-     KEALOHA-OTSUKA-000063 Summary Chart - Sources and Uses of Funds by Katherine Kealoha and Louis
        000054                                    Kealoha for their Combined Bank Accounts from 2009 through 2016

36-15   KEALOHA-OTSUKA-     KEALOHA-OTSUKA-000008 Summary Chart - Deposits and Withdrawals for Katherine Kealoha's and Louis
        000004                                    Kealoha's American Savings Bank #0950 for the period December 24, 2008
                                                  through March 9, 2011

36-16   KEALOHA-OTSUKA-     KEALOHA-OTSUKA-000053 Summary Chart - Deposits and Withdrawals for Katherine Kealoha's and Louis
        000047                                    Kealoha's Hawaii USA Federal Credit Union Bank Account #850-S10 for the period
                                                  June 30, 2010 through July 5, 2014

36-17   KEALOHA-OTSUKA-                               Summary Chart - Deposits and Withdrawals for Katherine Puana E K Kealoha's
        000037                                        First Hawaiian Bank Account (MMA #6856) for the period August 13, 2012
                                                      through February 21, 2014

36-18   KEALOHA-OTSUKA-                               Flow Chart - Showing Funding of the Rolex costing $14,031 on October 10, 2012
        000038

36-19   KEALOHA-OTSUKA-                               Summary Chart - Deposits and Withdrawals for Katherine Puana Kealoha's
        000015                                        Environment Quality Control Hawaii Account #0059 for the period from
                                                      December 5, 2008 through January 30, 2009




                                                                              23
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 25 of 37                                     PageID #:
                                                       UNITED STATES v.5166
                                                                       KEALOHA, et al.,
                                                                       17CR0582-JMS-RLP
                                                                    GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                             DESCRIPTION                                        DATE   MARKED ADMITTED
  NO:                                                                                                                                       OFFERED

36-20   KEALOHA-OTSUKA-                                  Summary Chart - Deposits and Withdrawals for Katherine Puana Kealoha dba
        000028                                           ARBONNE International's Bank of Hawaii Account #3079 for the period
                                                         December 31, 2008 through February 4, 2010

36-21   VARIOUS                                          Financial Records used in Summary Charts - COAs


45-01   KEALOHA-REPORTS-                                 Deputy Prosecuting Attorney W. Kaina Awong's Motion to Correct Illegal
        001651                                           Sentence given to Gerard Puana, filed September 19, 2013

45-02   KEALOHA-REPORTS-                                 Defendant Gerard Puana's Memorandum in Opposition to the State's Motion,
        001645                                           filed November 15, 2013

46-01   KEALOHA-GJEX-MARTIN-                             Email from Mallory Martin to William Kaina Awong re: Motion to Correct Illegal
        MM-001-000001                                    Sentence, dated August 22, 2013


46-02   KEALOHA-GJEX-MARTIN-                             Deputy Prosecuting Attorney W. Kaina Awong's Motion to Correct Illegal
        MM-002-000001                                    Sentence given to Gerard Puana (attached to email dated August 22, 2013)

47-01   KEALOHA-GJ-IKEHARA-                              Marketing Flyer for the Clark Capital Open Golf Tournament, on June 22, 2013
        000001

48-01   KEALOHA-000039          KEALOHA-000042           Golf Scoresheet (Hawaii Prince Golf Couse) for Gordon Shiraishi on June 22, 2013


53-01   KEALOHA-GJ-BL416-                                Letter from Department of the Attorney General confirming no notary records
        HIDAG-000001                                     found for "Alison L. Wong; BL-416," dated August 18, 2016

54-01   KEALOHA-GJ-BL622-AAN- KEALOHA-GJ-BL622-AAN-      American Association of Notaries business record for the Account Profile of
        000009                000010                     "Alison Lee Wong" [Contact information "Kathryn Aloha -Director OEQC"]

56-01   KEALOHA-REPORTS-        KEALOHA-REPORTS-012810 Letter from Anthony Wong with attachments: Trust Agreement and DAG letters
        012793                                         confirming no records for "Alison Lee Wong," dated September 18, 2014




                                                                                  24
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 26 of 37                                    PageID #:
                                                       UNITED STATES v.5167
                                                                       KEALOHA, et al.,
                                                                    17CR0582-JMS-RLP
                                                                 GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                          DESCRIPTION                                        DATE   MARKED ADMITTED
  NO:                                                                                                                                    OFFERED

56-02   KEALOHA-KURASHIMA-      KEALOHA-KURASHIMA-    Revocable Living Trust Agreement, marked as Exhibit 71 during Katherine
        000456                  000469                Kealoha's deposition in September 2014, allegedly notarized by "Alison Lee
                                                      Wong" and noting her commission expires on "04-11-09"

56-03   KEALOHA-13-1-0686-      KEALOHA-13-1-0686-    Revocable Living Trust Agreement, marked as Exhibit P-45 during Katherine
        PUANA-005507            PUANA-005520          Kealoha's Civil trial testimony, allegedly notarized by "Alison Lee Wong" and
                                                      noting her commission expires on "04-11-09"

57-01   KEALOHA-GJEX-TWS-002- KEALOHA-GJEX-TWS-002-   Letter by Katherine Kealoha to Trisha Watson-Sproat referencing "Alison Lee-
        000001                000002                  Wong"

57-02   KEALOHA-GJEX-TWS-001-                         Envelope containing Katherine Kealoha's Letter to Trish Watson-Sproat
        000001

57-03   KEALOHA-GJEX-TWS-003- KEALOHA-GJEX-TWS-003-   Trisha Watson-Sprout's alleged Facebook contact with "Alison Leewong", dated
        000001                000004                  November 9, 2009

58-01   KEALOHA-GJ-BL286-B-     KEALOHA-GJ-BL286-B-   Katherine Kealoha's email to "Alison Wong" about a call whereby "Alison Wong"
        DANG-000623             DANG-000623           allegedly responds she is on vacation, and Katherine Kealoha forwarded the
                                                      emails to James Bickerton [8/02/2011-8/05/2011]

58-02   KEALOHA-GJ-BL286-B-     KEALOHA-GJ-BL286-B-   Emails between "Alison Wong" and James Bickerton, dated October 31, 2011
        DANG-000672             DANG-000673

60-01   KEALOHA-GJEX-MG-001- KEALOHA-GJEX-MG-001-     Det. Michael Garcia's Notes and Internet Search regarding Mailbox value based
        000001               000005                   on information provided by Katherine Kealoha, via Det. Dru Akagi


60-02   KEALOHA-GJEX-MG-001- KEALOHA-GJEX-MG-001-     HPD Appraisal Report on the Kealoha's Mailbox value based on information
        000006               000011                   provided by Katherine Kealoha, dated June 21, 2013


61-01   KEALOHA-REPORTS-                              Photograph - back of Lexus (shown to Mark Owen)
        027542




                                                                               25
                           Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 27 of 37                      PageID #:
                                                    UNITED STATES v.5168
                                                                    KEALOHA, et al.,
                                                             17CR0582-JMS-RLP
                                                          GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:        END BATES NO:                                     DESCRIPTION                               DATE   MARKED ADMITTED
  NO:                                                                                                                   OFFERED

61-02   KEALOHA-REPORTS-                       Photograph - front of Lexus (shown to Mark Owen)
        001279

61-03   KEALOHA-REPORTS-                       Photograph - front of Lexus (shown to Mark Owen)
        001280

61-04   KEALOHA-REPORTS-                       Photograph - front and passenger side of Lexus (shown to Mark Owen)
        001286

61-05   KEALOHA-REPORTS-                       Photograph - front of Lexus (shown to Mark Owen)
        001287

61-06   KEALOHA-REPORTS-                       Photograph - front and passenger side of Lexus (shown to Mark Owen)
        001288

61-07   KEALOHA-REPORTS-                       Photograph - front and passenger side of Lexus (shown to Mark Owen)
        001289

61-08   KEALOHA-REPORTS-                       Photograph - front and passenger side of Lexus (shown to Mark Owen)
        001290

61-09   KEALOHA-REPORTS-                       Photograph - front and passenger side of Lexus (shown to Mark Owen)
        001291

61-10   KEALOHA-REPORTS-                       Photograph - front and passenger side of Lexus (shown to Mark Owen)
        001292

61-11   KEALOHA-REPORTS-                       Photograph - front and passenger side of Lexus (shown to Mark Owen)
        001293

62-01   KEALOHA-REPORTS-                       Computer run by Derek Hahn on June 22, 2013 at 23:00
        030828

62-02   KEALOHA-REPORTS-                       Computer run by Niall Silva on June 22, 2013 at 20:23
        030838

62-03   KEALOHA-REPORTS-                       Computer run by Niall Silva on June 22, 2013 at 20:22
        030839




                                                                        26
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 28 of 37                                          PageID #:
                                                       UNITED STATES v.5169
                                                                       KEALOHA, et al.,
                                                                           17CR0582-JMS-RLP
                                                                        GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:              END BATES NO:                                              DESCRIPTION                                       DATE   MARKED ADMITTED
  NO:                                                                                                                                          OFFERED

62-04    KEALOHA-REPORTS-          KEALOHA-REPORTS-030841 Computer run by Niall Silva on June 22, 2013 at 20:23
         030840

63-01    KEALOHA-KURASHIMA-                                  Letter from Department of the Attorney General to Anthony L. Wong confirming
         000268                                              no notary records found for "Alison L. Wong," dated May 23, 2014


63-02    KEALOHA-KURASHIMA-                                  Letter from Department of the Attorney General to Anthony L. Wong re: no
         000269                                              notary records found for "Alison L. Wong," dated July 14, 2014

66-01    KEALOHA-CAMPBELL-                                   Screen shot of business record from American Association on Notaries for the
         000001                                              Profile of "K. Aloha"

66-02    KEALOHA-CAMPBELL-                                   Screen shot of business record from American Association on Notaries showing
         000002                                              alisonleewong 's customer email and customer contact as "c/o Kathryn Aloha"


66-03    KEALOHA-CAMPBELL-                                   Screen shot of business record from American Association on Notaries showing
         000003                                              product ordered: Hawaii notary seal in the name of "Alison Lee Wong"


66-04    KEALOHA-CAMPBELL-                                   Screen shot of business record from American Association on Notaries of "Alison
         000004                                              Lee Wong" notary seal shipped UPS to Kathryn Aloha on May 25, 2008


66-05    KEALOHA-CAMPBELL-                                   Demonstrative chart of screen shot connections from business records of the
         000005                                              American Association of Notaries, displaying purchase of "Alison Lee Wong"
                                                             notary seal by Kathryn Aloha

69-01    KEALOHA-GJ-BL417-FATIC-                             Cover letter from Katherine Kealoha to First American Title re: Escrow Account,
         000040                                              dated March 17, 2009, attaching a copy of the Gerard Puana Revocable Trust
                                                             [signed by Katherine Kealoha and allegedly notorized by "Alison Lee Wong"]


69-01A   KEALOHA-GJ-BL417-FATIC-                             COA - First American Title Company
         000001



                                                                                      27
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 29 of 37                                        PageID #:
                                                        UNITED STATES v.5170
                                                                        KEALOHA, et al.,
                                                                           17CR0582-JMS-RLP
                                                                        GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:              END BATES NO:                                              DESCRIPTION                                          DATE   MARKED ADMITTED
  NO:                                                                                                                                             OFFERED

69-02    KEALOHA-GJ-BL417-FATIC- KEALOHA-GJ-BL417-FATIC- Gerard Puana Revocable Trust [signed by Katherine Kealoha and allegedly
         000142                  000155                  notorized by "Alison Lee Wong"] provided to First American Title by Katherine
                                                         Kealoha on March 17, 2009

69-03    KEALOHA-GJ-BL417-FATIC- KEALOHA-GJ-BL417-FATIC- Greenwood Apartment Deed (To Trust), dated October 5, 2009
         000262                  000268

69-04    KEALOHA-GJ-BL417-FATIC- KEALOHA-GJ-BL417-FATIC- Greenwood Sale Closing Escrow Instructions from Katherine Kealoha to First
         000585                  000586                  American Title, dated February 6, 2009

69-05    KEALOHA-GJ-BL417-FATIC-                             Grenwood Notice of Recording from First American Title, dated October 14, 2009
         000048                                              for Katherine P. Kealoha, Trustee

69-06    KEALOHA-GJ-BL417-FATIC-                             Greenwood Notice of Recording to "Katherine P. Kealoha, Trustee" from First
         000050                                              American Title, dated October 14, 2009

75-01    KEALOHA-TRANSCRIPT-       KEALOHA-TRANSCRIPT-       Certified Transcript - Testimony of Katherine Kealoha for Deposition on June 19,
         001429                    001597                    2013 for Case No. 13-1-686

75-01A   KEALOHA-TRANSCRIPT-       KEALOHA-TRANSCRIPT-       Excerpt of Certified Transcript - Testimony of Katherine Kealoha for Deposition on
         001485                    001486                    June 19, 2013 for Case No. 13-1-686

75-01B   KEALOHA-TRANSCRIPT-       KEALOHA-TRANSCRIPT-       Excerpt of Certified Transcript - Testimony of Katherine Kealoha for Deposition on
         001489                    001489                    June 19, 2013 for Case No. 13-1-686

75-01C   KEALOHA-TRANSCRIPT-       KEALOHA-TRANSCRIPT-       Excerpt of Certified Transcript - Testimony of Katherine Kealoha for Deposition on
         001492                    001494                    June 19, 2013 for Case No. 13-1-686

75-02    KEALOHA-TRANSCRIPT-       KEALOHA-TRANSCRIPT-       Certified Transcript - Testimony of Katherine Kealoha for Deposition on
         001598                    001680                    September 26, 2014 for Case No. 13-1-686

75-02A   KEALOHA-TRANSCRIPT-       KEALOHA-TRANSCRIPT-       Excerpt of Certified Transcript - Testimony of Katherine Kealoha for Deposition on
         001664                    001672                    September 26, 2014 for Case No. 13-1-686

75-02B   KEALOHA-TRANSCRIPT-                                 Excerpt of Certified Transcript - Testimony of Katherine Kealoha for Deposition on
         001679                                              September 26, 2014 for Case No. 13-1-686



                                                                                      28
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 30 of 37                                    PageID #:
                                                        UNITED STATES v.5171
                                                                        KEALOHA, et al.,
                                                                      17CR0582-JMS-RLP
                                                                   GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                           DESCRIPTION                                          DATE   MARKED ADMITTED
  NO:                                                                                                                                        OFFERED

75-02C   KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Excerpt of Certified Transcript - Testimony of Katherine Kealoha for Deposition on
         001661                  001663                September 26, 2014 for Case No. 13-1-686

75-03    KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Certified Transcript - Testimony of Louis Kealoha during trial on December 4,
         000001                  000122                2014 in U.S. v. Puana, Case No. 13-00735-LEK

75-03A   KEALOHA-TRANSCRIPT-                           Excerpt of Certified Transcript - Testimony of Louis Kealoha during trial on
         000080; KEALOHA-                              December 4, 2014 in U.S. v. Puana, Case No. 13-00735-LEK
         TRANSCRIPT-000091-92
75-04    KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Certified Transcript - Testimony of Niall Silva during trial on December 4, 2014 in
         000001                  000122                U.S. v. Puana, Case No. 13-00735-LEK

75-04A   KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Excerpt of Certified Transcript - Testimony of Niall Silva during trial on December
         000001                  000122                4, 2014 in U.S. v. Puana, Case No. 13-00735-LEK

75-04B   KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Excerpt of Certified Transcript - Testimony of Niall Silva during trial on December
         000001                  000122                4, 2014 in U.S. v. Puana, Case No. 13-00735-LEK

75-04C   KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Excerpt of Certified Transcript - Testimony of Niall Silva during trial on December
         000001                  000122                4, 2014 in U.S. v. Puana, Case No. 13-00735-LEK

75-04D   KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Excerpt of Certified Transcript - Testimony of Niall Silva during trial on December
         000001                  000122                4, 2014 in U.S. v. Puana, Case No. 13-00735-LEK

75-05    KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Certified Transcript - Testimony of Katherine Kealoha on January 20, 2015 in
         000871                  001000                Puana v. Kealoha, Civil Case No. 13-1-686

75-06    KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Certified Transcript - Testimony of Katherine Kealoha on January 21, 2015 in
         001001                  001199                Puana v. Kealoha, Civil Case No. 13-1-686

75-07    KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Certified Transcript - Testimony of Katherine Kealoha on January 22, 2015 in
         001208                  001271                Puana v. Kealoha, Civil Case No. 13-1-686

75-07A   KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-   Excerpt of Certified Transcript - Testimony of Katherine Kealoha on January 22,
         001210                  001211                2015 in Puana v. Kealoha, Civil Case No. 13-1-686



                                                                                 29
                               Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 31 of 37                                    PageID #:
                                                        UNITED STATES v.5172
                                                                        KEALOHA, et al.,
                                                                      17CR0582-JMS-RLP
                                                                   GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:            END BATES NO:                                           DESCRIPTION                                       DATE   MARKED ADMITTED
  NO:                                                                                                                                     OFFERED

75-07B   KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-    Excerpt of Certified Transcript - Testimony of Katherine Kealoha on January 22,
         001247                  001248                 2015 in Puana v. Kealoha, Civil Case No. 13-1-686

75-08    KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-    Certified Transcript - Testimony of Katherine Kealoha on February 4, 2015 in
         000326                  000439                 Puana v. Kealoha, Civil Case No. 13-1-686

75-09    KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-    Certified Transcript - Testimony of Katherine Kealoha on February 5, 2015 in
         000577                  000774                 Puana v. Kealoha, Civil Case No. 13-1-686

75-10    KEALOHA-TRANSCRIPT-     KEALOHA-TRANSCRIPT-    Certified Transcript - Testimony of Katherine Kealoha on February 6, 2015 in
         000775                  000870                 Puana v. Kealoha, Civil Case No. 13-1-686

75-11    KEALOHA-HEC-MEDIA-      KEALOHA-MEDIA-000016   AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics Commission
         000013                                         on April 30, 2015

75-11A   KEALOHA-HEC-000051      KEALOHA-HEC-000172     Transcript - Gordon Shiraishi testimony before the Honolulu Ethics Commission
                                                        on April 30, 2015

75-11B   KEALOHA-HEC-MEDIA-      KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                         Commission on April 30, 2015 - Clip 001

75-11C   KEALOHA-HEC-MEDIA-      KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                         Commission on April 30, 2015 - Clip 002

75-11D   KEALOHA-HEC-MEDIA-      KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                         Commission on April 30, 2015 - Clip 003

75-11E   KEALOHA-HEC-MEDIA-      KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                         Commission on April 30, 2015 - Clip 004

75-11F   KEALOHA-HEC-MEDIA-      KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                         Commission on April 30, 2015 - Clip 005

75-11G   KEALOHA-HEC-MEDIA-      KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                         Commission on April 30, 2015 - Clip 006




                                                                                 30
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 32 of 37                                    PageID #:
                                                       UNITED STATES v.5173
                                                                       KEALOHA, et al.,
                                                                     17CR0582-JMS-RLP
                                                                  GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                           DESCRIPTION                                       DATE   MARKED ADMITTED
  NO:                                                                                                                                    OFFERED

75-11H   KEALOHA-HEC-MEDIA-     KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                        Commission on April 30, 2015 - Clip 007

75-11I   KEALOHA-HEC-MEDIA-     KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                        Commission on April 30, 2015 - Clip 008

75-11J   KEALOHA-HEC-MEDIA-     KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                        Commission on April 30, 2015 - Clip 009

75-11K   KEALOHA-HEC-MEDIA-     KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                        Commission on April 30, 2015 - Clip 010

75-11L   KEALOHA-HEC-MEDIA-     KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                        Commission on April 30, 2015 - Clip 011

75-11M   KEALOHA-HEC-MEDIA-     KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                        Commission on April 30, 2015 - Clip 012

75-11N   KEALOHA-HEC-MEDIA-     KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                        Commission on April 30, 2015 - Clip 013

75-11O   KEALOHA-HEC-MEDIA-     KEALOHA-MEDIA-000016   Excerpt of AUDIO FILE - Gordon Shiraishi testimony before the Honolulu Ethics
         000013                                        Commission on April 30, 2015 - Clip 014

75-12    KEALOHA-GJ-AUDIO-                             AUDIO FILE - Gordon Shiraishi testimony before the Federal Grand Jury on
         000002                                        January 07, 2016

75-12A   KEALOHA-GJT-000379     KEALOHA-GJT-000490     Certified Transcript - Gordon Shiraishi testimony before the Federal Grand Jury
                                                       on January 07, 2016

75-12B   KEALOHA-GJ-AUDIO-                             Excerpt of AUDIO FILE - Gordon Shiraishi testimony before before the Federal
         000002                                        Grand Jury on January 07, 2016 - Clip 001

75-12C   KEALOHA-GJ-AUDIO-                             Excerpt of AUDIO FILE - Gordon Shiraishi testimony before before the Federal
         000002                                        Grand Jury on January 07, 2016 - Clip 002




                                                                                31
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 33 of 37                                  PageID #:
                                                       UNITED STATES v.5174
                                                                       KEALOHA, et al.,
                                                                   17CR0582-JMS-RLP
                                                                GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:           END BATES NO:                                        DESCRIPTION                                        DATE   MARKED ADMITTED
  NO:                                                                                                                                  OFFERED

75-12D   KEALOHA-GJ-AUDIO-                           Excerpt of AUDIO FILE - Gordon Shiraishi testimony before before the Federal
         000002                                      Grand Jury on January 07, 2016 - Clip 003

75-12E   KEALOHA-GJ-AUDIO-                           Excerpt of AUDIO FILE - Gordon Shiraishi testimony before before the Federal
         000002                                      Grand Jury on January 07, 2016 - Clip 004

75-12F   KEALOHA-GJ-AUDIO-                           Excerpt of AUDIO FILE - Gordon Shiraishi testimony before before the Federal
         000002                                      Grand Jury on January 07, 2016 - Clip 005

75-13    KEALOHA-GJT-001125     KEALOHA-GJT-001222   Certified Transcript - Minh-Hung "Bobby" Nguyen testimony before the Federal
                                                     Grand Jury on April 21, 2016

75-13A   KEALOHA-GJT-001125     KEALOHA-GJT-001222   Excerpt of Certified Transcript - Minh-Hung "Bobby" Nguyen testimony before the
                                                     Federal Grand Jury on April 21, 2016 - Clip 001

75-13B   KEALOHA-GJT-001125     KEALOHA-GJT-001222   Excerpt of Certified Transcript - Minh-Hung "Bobby" Nguyen testimony before the
                                                     Federal Grand Jury on April 21, 2016 - Clip 002

75-13C   KEALOHA-GJT-001125     KEALOHA-GJT-001222   Excerpt of Certified Transcript - Minh-Hung "Bobby" Nguyen testimony before the
                                                     Federal Grand Jury on April 21, 2016 - Clip 003

75-13D   KEALOHA-GJT-001125     KEALOHA-GJT-001222   Excerpt of Certified Transcript - Minh-Hung "Bobby" Nguyen testimony before the
                                                     Federal Grand Jury on April 21, 2016 - Clip 004

75-14    KEALOHA-GJ-AUDIO-                           AUDIO FILE - Minh-Hung "Bobby" Nguyen testimony before the Federal Grand
         000001                                      Jury on May 19, 2016

75-14A   KEALOHA-GJT-002099     KEALOHA-GJT-002168   Certified Transcript - Minh-Hung "Bobby" Nguyen testimony before the Federal
                                                     Grand Jury on May 19, 2016

75-14B   KEALOHA-GJ-AUDIO-                           Excerpt of AUDIO FILE - Minh-Hung "Bobby" Nguyen testimony before before the
         000001                                      Federal Grand Jury on May 19, 2016 - Clip 001

75-14C   KEALOHA-GJ-AUDIO-                           Excerpt of AUDIO FILE - Minh-Hung "Bobby" Nguyen testimony before before the
         000001                                      Federal Grand Jury on May 19, 2016 - Clip 002

75-14D   KEALOHA-GJ-AUDIO-                           Excerpt of AUDIO FILE - Minh-Hung "Bobby" Nguyen testimony before before the
         000001                                      Federal Grand Jury on May 19, 2016 - Clip 003



                                                                              32
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 34 of 37                                  PageID #:
                                                       UNITED STATES v.5175
                                                                       KEALOHA, et al.,
                                                                     17CR0582-JMS-RLP
                                                                  GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:             END BATES NO:                                         DESCRIPTION                                     DATE   MARKED ADMITTED
  NO:                                                                                                                                  OFFERED

75-15    KEALOHA-HEC-MEDIA-       KEALOHA-HEC-MEDIA-   AUDIO FILES - Minh-Hung "Bobby" Nguyen testimony before the Honolulu Ethics
         000003                   000005               Commission on May 15, 2015

75-15A   KEALOHA-GJ-AUDIO-                             Excerpt of AUDIO FILE - Minh-Hung "Bobby" Nguyen testimony before the
         000001                                        Honolulu Ethics Commission on May 15, 2015 - Clip 001

75-15B   KEALOHA-GJ-AUDIO-                             Excerpt of AUDIO FILE - Minh-Hung "Bobby" Nguyen testimony before the
         000001                                        Honolulu Ethics Commission on May 15, 2015 - Clip 002

75-15C   KEALOHA-GJ-AUDIO-                             Excerpt of AUDIO FILE - Minh-Hung "Bobby" Nguyen testimony before the
         000001                                        Honolulu Ethics Commission on May 15, 2015 - Clip 003

75-15D   KEALOHA-GJ-AUDIO-                             Excerpt of AUDIO FILE - Minh-Hung "Bobby" Nguyen testimony before the
         000001                                        Honolulu Ethics Commission on May 15, 2015 - Clip 004

81-01    KEALOHA-HI-SENATE-                            Rick Ornellas Senate Recommendation Letter for Katherine Kealoha
         000043
81-02    KEALOHA-GJEX-RO-020-1-                        Email from "Alison Lee Wong" to Rick Ornellas (Subject: Hi Rick), dated
         000001                                        September 21, 2011

81-03    KEALOHA-GJEX-RO-020-2-                        Email from "Alison Lee Wong" to Rick Ornellas (Subject: KPK return), dated
         000001                                        September 21, 2011

81-04    KEALOHA-GJEX-RO-020-3-                        Email from Rick Ornellas to "Alison Lee Wong", dated September 22, 2011
         000001
81-05    KEALOHA-GJEX-RO-020-4-                        Email from Rick Ornellas to "Alison Lee Wong" (Subject: KPK return), dated
         000001                                        September 22, 2011

81-06    KEALOHA-GJEX-RO-020-5-                        Email from Rick Ornellas to "Alison Lee Wong" (Subject: KPK return), dated
         000001                                        September 23, 2011

81-07    KEALOHA-GJEX-RO-020-6-                        Email from "Alison Lee Wong" responding to Rick Ornellas' email on September
         000001                                        23, 2011




                                                                                33
                              Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 35 of 37                                      PageID #:
                                                       UNITED STATES v.5176
                                                                       KEALOHA, et al.,
                                                                         17CR0582-JMS-RLP
                                                                      GOVERNMENT'S EXHIBIT LIST

EXHIBIT BEG BATES NO:             END BATES NO:                                            DESCRIPTION                                         DATE   MARKED ADMITTED
  NO:                                                                                                                                         OFFERED

81-08    KEALOHA-GJEX-RO-020-7-                            Email from Rick Ornellas to "Alison Lee Wong" responding to email, dated
         000001                                            September 23, 2011

81-09    KEALOHA-GJEX-RO-020-8-                            Email from "Alison Lee Wong" to Rick Ornellas cancelling on them, dated
         000001                                            September 28, 2011

81-10    KEALOHA-GJEX-RO-020-9-                            Email from Rick Ornellas to "Alison Lee Wong" asking for a call, dated September
         000001                                            28, 2011

82-01    KEALOHA-GJ-BL95-HCFCU- KEALOHA-GJ-BL95-HCFCU- Letter from Katherine Kealoha to Miles Kimhan, dated July 12, 2012
         001190                 001192

82-01A   KEALOHA-GJ-BL95-HCFCU- KEALOHA-GJ-BL95-HCFCU- HCFCU - COA
         000001                 000001

83-01    KEALOHA-GJ-BL95-HCFCU- KEALOHA-GJ-BL95-HCFCU- Letter from Louis M. and Katherine P. Kealoha to Lawrence Cutwright, dated
         001193                 001194                 March 12, 2010

83-01A   KEALOHA-GJ-BL95-HCFCU- KEALOHA-GJ-BL95-HCFCU- HCFCU - COA
         000001                 000001

90-01    KEALOHA-REPORTS-         KEALOHA-REPORTS-005589 Emails between Katherine Kealoha and Maile Nguyen, dated November 1, 2014
         005587

90-02    KEALOHA-GJEX-MR-033- KEALOHA-GJEX-MR-033-         Email from Katherine Kealoha to Minh-Hung "Bobby" Nguyen, Derek Hahn, and
         000001               000002                       Maile Nguyen, attaching a photograph of the Gibraltar Mailbox post, dated June
                                                           22, 2013

90-03    KEALOHA-GJEX-MR-034- KEALOHA-GJEX-MR-034-         Photograph of Priority Mail Package and Contents from Katherine Kealoha to
         000001               000002                       Maile Rego (aka Maile Nguyen), dated July 6, 2017

90-04    KEALOHA-GJEX-MR-032- KEALOHA-GJEX-MR-032-         Email from Katherine Kealoha to Minh-Hung "Bobby" Nguyen, Derek Hahn, and
         000001               000002                       Maile Nguyen, attaching an HPD "Highlight" disclosing the alleged mailbox theft
                                                           at the Kealoha's residence, dated June 22, 2013




                                                                                    34
Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 36 of 37    PageID #:
                                    5177


  Dated: May 13, 2019.                Respectfully submitted,

                                      WILLIAM P. BARR
                                      United States Attorney General
                                      ROBERT S. BREWER, JR.
                                      United States Attorney

                                      /s/ Joseph J.M. Orabona
                                      MICHAEL G. WHEAT
                                      JOSEPH J.M. ORABONA
                                      JANAKI S. GANDHI
                                      COLIN M. MCDONALD
                                      Special Attorneys to the Attorney General




                                      35
Case 1:17-cr-00582-JMS-WRP Document 598 Filed 05/13/19 Page 37 of 37            PageID #:
                                    5178




                    UNITED STATES DISTRICT COURT
                                DISTRICT OF HAWAII
                                                   Cr. No. 17-00582 JMS-WRP
   UNITED STATES OF AMERICA,
                                                   CERTIFICATE OF SERVICE
                       Plaintiff,
          v.
   KATHERINE P. KEALOHA (1), et al.,
                       Defendants.


  IT IS HEREBY CERTIFIED that:
        I, Joseph J.M. Orabona, am a citizen of the United States and am at least

  eighteen years of age. My business address is 880 Front Street, Room 6293,

  San Diego, CA 92101-8893.

        I am not a party to the above-entitled action. I have caused service of the

  foregoing on all parties in this case by electronically filing the foregoing with the

  Clerk of the District Court using its ECF System, which electronically notifies them.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on May 13, 2019.



                                                /s/ Joseph J.M. Orabona
                                                JOSEPH J.M. ORABONA




                                           36
